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                                   UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                       ALEXANDRIA DIVISION

         JERRY DAVIDSON, individually              .        Civil Action No. 1:20cv1263
         and on behalf of all others               .
         similarly situated,                       .
                                                   .
                               Plaintiff,          .
                                                   .
                 vs.                               .        Alexandria, Virginia
                                                   .        January 8, 2021
         UNITED AUTO CREDIT                        .        10:00 a.m.
         CORPORATION, a California                 .
         corporation,                              .
                                                   .
                               Defendant.          .
                                                   .
         .   .   .     .   .   .   .   .   .   .   .

                                 TRANSCRIPT OF MOTION HEARING
                           BEFORE THE HONORABLE LEONIE M. BRINKEMA
                                 UNITED STATES DISTRICT JUDGE
                                     (Via Teleconference)

         APPEARANCES:

         FOR THE PLAINTIFF:                        KRISTI C. KELLY, ESQ.
                                                   Kelly Guzzo, PLC
                                                   3925 Chain Bridge Road, Suite 202
                                                   Fairfax, VA 22030
                                                     and
                                                   LEONARD A. BENNETT, ESQ.
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                                                     and
                                                   JANET R. VARNELL, ESQ.
                                                   Varnell and Warwick, P.A.
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                                                   Suite 201H, #105
                                                   Tampa, FL 33602

                           (APPEARANCES CONT'D. ON FOLLOWING PAGE)

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                     COMPUTERIZED TRANSCRIPTION OF STENOGRAPHIC NOTES



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         APPEARANCES:    (Cont'd.)

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    1                            P R O C E E D I N G S

    2               THE COURT:    Good morning, counsel.           This is the

    3    matter of Jerry Davidson, individually and on behalf of all

    4    others similarly situated, versus United Auto Credit

    5    Corporation, a California corporation, Civil Action 20cv1263.

    6               Do we have counsel here for the plaintiff?

    7               MS. VARNELL:     Yes, Your Honor.        This is Janet

    8    Varnell, and on the line with me are a number of my cocounsel.

    9               THE COURT:    All right, Ms. -- I'm sorry, Ms. Varnell,

   10    are you going to be the main spokesperson for the plaintiff?

   11               MS. VARNELL:     I would like to.

   12               THE COURT:    All right, that's fine.           Did you want to

   13    introduce the other participants?

   14               MS. VARNELL:     I guess I'd like them to each introduce

   15    themselves, please.

   16               THE COURT:    All right, go ahead.

   17               MS. KELLY:    Good morning, Judge.          This is Kristi

   18    Kelly with Kelly Guzzo on behalf of the plaintiff as well.

   19               THE COURT:    Good morning.

   20               MR. BENNETT:     And, Judge, this is Leonard Bennett,

   21    also on behalf of the plaintiff, calling from down here in

   22    Newport News.

   23               THE COURT:    All right, Mr. Bennett.

   24               MR. BENNETT:     Good morning.

   25               THE COURT:    Good morning.




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    1                 Anybody else for the plaintiff?

    2                                   (No response.)

    3                 MS. VARNELL:   Your Honor, I believe Ms. --

    4                 THE COURT:   Go ahead, Ms. -- now, we're on the

    5    record, but we can't see you because this is by the phone, so

    6    counsel need to state their name before they speak.

    7    Ms. Varnell, was there anyone else for the plaintiff that you

    8    wanted to put on the record?

    9                 MS. VARNELL:   There is, Your Honor.           I believe Tina

   10    Wolfson and Chris Stiner are also on the call for the

   11    plaintiff.

   12                 THE COURT:   All right.     Anybody else?

   13                                   (No response.)

   14                 THE COURT:   Well, that's certainly enough.

   15    Ms. Varnell, I'm going to expect to hear just from you then for

   16    the plaintiff.

   17                 And for the defendant?

   18                 MR. KIM:   Good morning, Your Honor.           Raymond Kim for

   19    defendant, United Auto Corporation.

   20                 THE COURT:   All right.     And anybody else with you,

   21    Mr. Kim?

   22                 MR. KIM:   Yes, Your Honor.

   23                 MR. SABALEWSKI:    Good morning -- good morning, Your

   24    Honor.   This is Travis Sabalewski, also for the defendant.

   25                 THE COURT:   All right, very good.          But, Mr. Kim, I'm




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    1    assuming you're the main spokesperson for the defendant; is

    2    that correct?

    3               MR. KIM:    That's correct, Your Honor.

    4               THE COURT:    All right.     What we have here is the

    5    defendant's motion to dismiss the plaintiff's second amended

    6    complaint, and this is brought under Federal Rule of Civil

    7    Procedure 12(b)(6).     I mean, there is one, as I understand it,

    8    overriding claim in this case, which is that the defendant is

    9    arguing that this particular consumer transaction for the sale

   10    of an automobile to an active member of the U.S. military is

   11    not covered by the special statute that governs loans to

   12    military people, the MLA.

   13               I would like, Ms. Varnell, for you to confirm with me

   14    my view that if, in fact, the transaction here was not a -- is

   15    exempt from the requirements of the MLA, then I believe that

   16    that ends the litigation.      Would you agree with that?              In other

   17    words, all of the claims that you raise are raised specifically

   18    as alleged violations of that statute.

   19               MS. VARNELL:     That's entirely true, Your Honor.                Your

   20    decision today hinges entirely on whether or not the exemption

   21    should be afforded to this defendant where they sold an

   22    additional add-on product, a financing product, in addition to

   23    the vehicle itself.

   24               THE COURT:    All right.     Now, the question that I have

   25    for the plaintiff at this point is how can you -- do you have




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    1    any case law, because we couldn't find any, any case law where

    2    the courts have interpreted this type of an argument before,

    3    that is, where there is this GAP provision of what I would deem

    4    to be basically sort of an insurance policy kind of provision

    5    rendering this as a hybrid transaction that would put it

    6    outside of the exemption?

    7               In other words, is there any case law to your

    8    knowledge that has addressed the issue that's before this

    9    Court?

   10               MS. VARNELL:     I am absolutely certain that there is

   11    not, Your Honor.     We are making the law in this case.

   12               THE COURT:    Okay.     That was our impression.

   13               MS. VARNELL:     I --

   14               THE COURT:    Go ahead.

   15               MS. VARNELL:     I do wish to inform the Court, though,

   16    about a little bit of history because there was a nearly

   17    identical case filed against the other largest financier of

   18    buy-here/pay-here, the used car dealerships in the country

   19    under the MLA.    I filed that case in the Middle District of

   20    Florida, and I wish that I could offer you an opinion from that

   21    case, but because that case is a little bit more complex and

   22    because of the particular actions of the defendant in that case

   23    and the National Auto Dealers Association, we should not expect

   24    the decision in that case prior to this Court's.

   25               I do think it's relevant to your consideration, what




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    1    happened in that case, because that's exactly why we have these

    2    waters muddied perhaps from the withdrawal of the guidance that

    3    was very clear, I would waive summary judgment in both the

    4    Florida case and this case tomorrow in the event that that

    5    guidance was still on the books, but the waters were muddied

    6    particularly because I sued the largest buy-here, pay-here

    7    dealership and finance company in the country for this

    8    same-type violation, and within months of filing this, they ran

    9    to this administration, the National Auto Dealers Association

   10    did, and requested that they withdraw this clear poster child

   11    guidance that said if you finance GAPs in addition to this,

   12    that's the exact example of a transaction that would not be

   13    covered by the extension.

   14               And that's really what created the -- sort of muddied

   15    the waters for the Court, that it should not muddy the waters

   16    for the Court because the prior existing guidance from the

   17    Department of Defense and the clear language of the statute and

   18    the regulation which has not changed says that this is consumer

   19    credit.   The financing of this insurance-related product is

   20    consumer credit.

   21               And, Your Honor, I would request that the Court, I do

   22    believe that it's crystal clear that this is a very simple

   23    decision and that's the only serious decision that Your Honor

   24    needs to make in determining the motion.            I would ask that the

   25    Court let me explain a little bit about why this case is so




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    1    important beyond the fact that it's the first case that will

    2    interpret this issue.

    3               THE COURT:    Go ahead.

    4               MS. VARNELL:     The case is important because only, you

    5    know, the law is -- this law is meant to protect those who

    6    protect us.    As a veteran myself and a career consumer

    7    protection attorney, I could tell you that I understand very

    8    well what happens to our military when they get into financial

    9    distress, and I want this Court to understand that most --

   10    something that most people are not aware of.

   11               When a servicemember gets into financial distress,

   12    they lose their security clearance.          It happens to over 20,000

   13    soldiers each year in this country, and about 80 percent of

   14    those are directly due to really bad loans like the one here.

   15    It's bad for the soldiers, and it costs our military millions

   16    and millions of dollars every year.

   17               In this case, Sergeant Jerry Davidson, he's an

   18    aviation operations supervisor at the time that he took this

   19    loan for the United States Army, and his wife, who is still

   20    today an army flight instructor, they were both sold a crappy

   21    2011 used car by this defendant, by a defendant dealership that

   22    this company -- that this defendant finances.

   23               The used car lots are always intentionally co-located

   24    with our military bases all over the United States, and these

   25    used car lots typically do what we saw here.               They add on other




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    1    products and other amounts in order to create a profit center,

    2    and when they do such, they have to comply with the MLA, just

    3    like every other finance company, every other credit union has

    4    managed to do since passage of the Military Lending Act, and in

    5    this case, this crappy used car, the actual calculation of the

    6    interest rate was over 26 percent for a 2011 GMC Acadia.

    7                 So this case is important because this is precisely

    8    why the Military Lending Act was passed.            So I'll leave it at

    9    that and answer any other questions that Your Honor might have

   10    on her mind.

   11                 THE COURT:   All right.    Well, I want to ask both of

   12    you to talk to me a little bit about this GAP, I'm calling it

   13    insurance.    Do I understand correctly that it works in the

   14    following fashion:      I call it insurance because it looks to me

   15    as though that's what it is, that it -- for a fee, it provides

   16    that if the vehicle is totaled, because that's the security for

   17    the loan, at that point, I am assuming that the loan or what is

   18    due on the loan is forgiven.

   19                 Is that correct, or do I misunderstand how that

   20    works?

   21                 MR. KIM:   Your Honor -- Your Honor, this is Ray Kim

   22    for the defendant.      That essentially -- that is essentially

   23    accurate.    So just to give you an example, if a borrower

   24    finances the vehicle and, let's say, finances $20,000 and then

   25    the next day or a year later totals the vehicle or, for




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     1   instance, such as a vehicle was stolen and it is deemed a total

     2   loss but the insurance company will only cover, let's say,

     3   $10,000 but the borrower still owes $15,000, the insurance will

     4   cover the additional 5,000, so the borrower will owe nothing to

     5   the auto finance company.       So it's a form of insurance.

     6               So it covers that gap between what is owed to the

     7   auto finance company and what the, what the insurance will

     8   cover for the loss.

     9               THE COURT:    All right.    Now, Ms. Varnell, do you

   10    agree that that's how the GAP operates?

   11                MS. VARNELL:    I believe that that is the basic

   12    premise of GAP, but I think it's very important that this Court

   13    understand that a dealership does not have to sell GAP in order

   14    for a buyer to have GAP protection.         You can go -- any, any

   15    person who has insurance on their car, which everyone is

   16    required to maintain, as were the plaintiffs in this case, and

   17    buys for 50 or 60 dollars a tiny percentage of your collision

   18    amount, you can buy GAP coverage for 50 or 60 bucks on your

   19    insurance policy, but instead, these dealerships use this

   20    add-on product at, in this case, it was $395, almost $400

   21    instead of 50 bucks, and they, you know, they don't have to buy

   22    it from the dealerships, but what these dealerships typically

   23    do is force it in where they say you need this, it needs to go

   24    on here, you need to have this because we sold you a car,

   25    obviously, that's going to be in serious negative equity the




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     1   minute that you drive it off the lot, in fact, it's not going

     2   to be worth what they paid for it, obviously, on the day that

     3   they bought it.

     4               So I think it's important that this Court understand

     5   that there's many other ways to have GAP protection other than

     6   to be sold it at an exorbitant rate and have it essentially put

     7   on the contract automatically as not -- it's not even optional.

     8               THE COURT:    Whoa, whoa, whoa.         Why do you say it's

     9   not optional?     I thought there was an opportunity to check for

   10    it or against it.

   11                MS. VARNELL:    Well, you would think that's the case,

   12    but what we know and what discovery will immediately reveal is

   13    that it's present on every one of the deals that these used car

   14    dealers make because this is a profit center for them, and so

   15    most consumers are not in the position to understand that this

   16    is something that they could get as part of their -- when they

   17    go to purchase insurance on their vehicle elsewhere.

   18                So it's, it's just -- you know, in this case, I think

   19    what you'll see is that GAP is going to be present on virtually

   20    every transaction that this, that this defendant finances.

   21    It's very important for profit.

   22                THE COURT:    All right.      Mr. Kim?

   23                MR. KIM:    Your Honor, this is --

   24                THE COURT:    Go ahead.

   25                MR. KIM:    I'm sorry, Your Honor, this is Ray.                 Just




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     1   to address a couple of points there, I can't speak to how much

     2   GAP insurance costs after market in Virginia.              I would be

     3   shocked if it's 50 or 60 dollars, but, but I don't think it is

     4   50 or 60 dollars.      That's the first point.

     5               And second, GAP insurance, it is completely optional.

     6   Ms. Varnell is -- I believe it's, you know, it's speculation

     7   that these are included in, in every retail installment sale

     8   contract from these dealerships.        At the end of the day, you

     9   know, the borrowers are walking into the dealerships, and they

   10    are working with the dealerships to purchase the vehicle and

   11    purchase GAP insurance, and in my experience, it's always been

   12    optional, as well as I would be shocked, I think it's something

   13    that would -- that Ms. Varnell would have to take up with the

   14    dealerships in this instance if that's not the case, but I

   15    would be shocked that that is something that's mandated by the

   16    dealerships.

   17                THE COURT:    Well, it's on the contract, but as I

   18    looked at the contract, there's no indication that there has to

   19    be -- it has to be accepted by the consumer.              There were some

   20    things on that contract which the consumer had not accepted, as

   21    I recall.    There were other optional costs that the consumer

   22    did not -- there's no little check mark indicating that that

   23    had been accepted.

   24                All right.    Well, that's one question.

   25                MR. KIM:    That's correct, Your Honor.




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     1               THE COURT:    Yeah.

     2               MR. KIM:    It's a blank line item.         It's not even

     3   listed on the contract, and it has to actually be inserted into

     4   the contract.

     5               MS. VARNELL:    It is largely irrelevant to the crystal

     6   clear decision that this Court has to make today anyway.                   The

     7   fact of the matter is the plaintiff was charged for GAP, paid

     8   for GAP.    It was part of the finance contract.            It was an

     9   additional product over and above the vehicle itself, and it

   10    was a financing product.

   11                THE COURT:    Yeah, but the question is not quite that

   12    simple, it seems to me, given the fact that the instruction

   13    was, was there at one point which would, as you correctly said,

   14    probably have made this a very simple decision, and then it

   15    was, it was withdrawn.

   16                Now, whether it was withdrawn for good reasons or bad

   17    reasons is really, you know, at this point not before the

   18    Court.    The question is whether or not one can characterize

   19    this GAP insurance as, as being within the scope of the overall

   20    motive for this statute, which is a very good statute.                  It's

   21    meant to protect a special class of consumers.

   22                But would you not agree, Ms. Varnell, that having an

   23    insurance that protects the consumer from being on the hook for

   24    having to pay on a loan for a car that has -- for which the

   25    security has disappeared is actually a protection to some




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     1   degree?    If the servicemember does not have GAP insurance and

     2   if the car were totaled or stolen, then -- and the, and the

     3   insurance that was maintained on the vehicle was insufficient

     4   to cover the remainder of the, of the loan, then the

     5   servicemember is on the hook.

     6               So the one --

     7               MS. VARNELL:    Well, Your Honor, the basic premise

     8   does make sense, but I will assure you, I've been doing

     9   consumer protection work for 25 years, and GAP insurance is one

   10    of these craft, high, very expensive credit products that

   11    consumers should not buy at car dealers.

   12                There's, there's an abundant, in fact, there was a

   13    fantastic study that came out just this summer, July of 2020,

   14    done by the FTC and the CFPB that specifically was looking into

   15    all of the extra credit-related products that were put on the

   16    consumer transactions, and it is clear when you, when you look

   17    at this from the perspective of what the market would properly

   18    charge for the protection that's being provided to people,

   19    there's much less expensive options and that the car

   20    dealerships should not be inserting this GAP insurance at the

   21    dealership so regularly.

   22                The -- you know, it's a profit center.              There's a

   23    number of ways that they can sell it.          They sell it as GAP

   24    waivers when they hold their own -- when they hold the

   25    financing contracts themselves, and then they sometimes buy the




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     1   insurance at, you know, literally from anywhere from 10 to 30

     2   percent of what the insurance actually costs for that

     3   dealership to buy or that consumer.

     4               So I do not agree that these are great products.                  I

     5   think that they're running around wearing a halo wrongly in

     6   front of the Department of Defense, saying, oh, we really need

     7   to protect soldiers, but that's not the reality of this

     8   product.    It is -- if you really looked at the overall

     9   structure of the loan and what our soldier got in exchange for

   10    a very substantial obligation of more than $21,000, he got sold

   11    what we call in the South a pig in a poke.

   12                There is -- this is not the kind of transactions that

   13    we want to be encouraging, and at a minimum, and you're going

   14    to, you know, maybe the government doesn't need to be in the

   15    business of regulating whether you get a good deal or a bad

   16    deal on a used car, but they darn sure should be in the

   17    business of regulating whether or not our soldiers are getting

   18    really bad finance charges and these extra add-on products they

   19    sell for a substantial percentage of the money that Sergeant

   20    Davidson is going to be obligated to pay and is having trouble

   21    making the payments on.

   22                I'm sure that the defendant could inform the Court

   23    that Mr. Davidson was, in fact, behind by a payment at the time

   24    that we filed this suit.

   25                THE COURT:    All right.    The other charge that's at




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     1   issue in this case --

     2               MR. KIM:    Your Honor?

     3               THE COURT:    Yeah, go ahead, Mr. Kim.

     4               MR. KIM:    Your Honor, if I may address a couple

     5   points there, with respect to the value of GAP, I really think

     6   it's, it's subject to, you know, to differing opinions.

     7   Whether it's a profit center or not, I think the value of GAP

     8   really depends on the down payment that's being made on the

     9   vehicle.    So, for instance, in this case, there was a down

   10    payment of $2,500, and the amount financed was about $15,000.

   11                Now, according to Ms. Varnell, you know, this was a

   12    crap car.    Now, if Mr. Davidson drove this crap car off the lot

   13    and got into a car accident and it was totaled and the

   14    insurance company was only going to offer him 5,000, he would

   15    still owe 10,000 on the vehicle, which the GAP insurance would

   16    cover for him.

   17                So I think in that instance and that example, it

   18    would be very valuable to have GAP insurance, and I think the

   19    auto industry recognizes that the value of GAP insurance

   20    largely depends on the amount of the down payment that's being

   21    made, and here, for instance, the down payment was not

   22    significant.

   23                And I think we also have to separate -- whether

   24    there's a bad deal on a vehicle purchased, I believe that's

   25    wholly apart from whether there's a violation of the MLA here,




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     1   and the MLA, you know, it prohibits APRs or MAPRs greater than

     2   36 percent.    Here I think it's clear that the MAPR was 22.99

     3   percent.

     4               We're not here to really discuss, you know, whether

     5   it's a good deal or a bad deal, but at the end of the day, Your

     6   Honor, again, my client's position is that there was no

     7   violation of the MLA.

     8               THE COURT:    All right.    Now, there was also a

     9   processing fee that was added onto the total that was financed

   10    here.   What is the processing fee used for?            I don't think that

   11    appears in the papers.

   12                Mr. Kim, do you know?

   13                MR. KIM:    I believe it's, it's like a document

   14    processing fee, Your Honor, that I believe just generally are

   15    applied when there's a vehicle purchased.

   16                THE COURT:    And when you say "document processing,"

   17    this would be the car registration, the application for the

   18    license plate, that sort of thing?

   19                MR. KIM:    Yes, all of that, Your Honor.            And then

   20    that's paid to the, to the dealership.

   21                THE COURT:    All right.    Now, that's, I believe,

   22    though, one of the additional charges about which the plaintiff

   23    is claiming violates the -- or am I wrong about that,

   24    Ms. Varnell?

   25                MS. VARNELL:    Actually, Your Honor, I think that we




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     1   need to do just a tidbit of discovery to determine what this

     2   actually means.     As Your Honor has correctly noted, it's two

     3   words on a piece of paper.       Do we know whether or not that is

     4   actually directly related to the vehicle itself, was it

     5   necessary, or is it just simply an add-on fee?

     6               I don't know what the nature of that fee was -- is

     7   really about until we do a little bit of discovery, and neither

     8   does the Court or the defendant today, so I think that that

     9   can't be determined prior to discovery on the nature of the

   10    charge.

   11                THE COURT:    All right.

   12                MS. VARNELL:    And therefore, the component --

   13                THE COURT:    All right.    Now, the other issue that you

   14    both sort of dispute is the actual MPAR (sic) in this case.

   15    The defendant submitted an amortization chart and requested

   16    that the Court take judicial notice of it, and I did not sit

   17    down and I don't intend to sit down with a calculator and try

   18    to work this all out, but I will tell you that it appeared to

   19    the Court that this made reasonable sense, and I don't think it

   20    converts this motion to dismiss to a motion for summary

   21    judgment, because what the defendant has simply done is taken

   22    the numbers that are in the contract, and the contract clearly

   23    is appropriate to be considered because it's inherently the

   24    essence of the whole complaint, it lists the amount that was

   25    totally -- the total amount that was financed.              It lists the --




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     1   and it lists the monthly payment that results from that amount

     2   and from the interest rate that is quoted, and then they simply

     3   did the mathematics.

     4               So I want to know as an officer of the Court,

     5   Ms. Varnell, do you disagree with the numbers that are

     6   generated if you take those simple numbers and put them over

     7   the 42 months that this contract was for?

     8               MS. VARNELL:    I do, Your Honor, and please permit me

     9   to explain how I arrived at the number that I did.

   10                THE COURT:    Okay.

   11                MS. VARNELL:    So when, when I -- because I'm one of

   12    the first consumer lawyers who's brought these private actions

   13    of this nature, I sought out to determine, okay, how are the

   14    credit unions who are financing military servicemembers, what

   15    are they using to calculate the MAPR?          To what are their banks

   16    that are doing this -- who are the people that are doing this

   17    right, and what method do they use to determine what the

   18    appropriate APR should be listed and what disclosures must be

   19    on a contract with an active duty military?

   20                And I went to the Credit Union National Association

   21    website and read a bunch of their guidance, and what I learned

   22    is that the Credit Union National Association hired a

   23    particular gentleman to create an MAPR calculator because, you

   24    know, the dealerships that are utilizing this and the credit

   25    unions all need to know this is exactly something that we can




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     1   rely upon for properly computing this in compliance with the

     2   regulations, and I sought out and hired and put on retainer

     3   that particular expert, who created the Credit Union National

     4   Association's calculator, and it was very inexpensive, and I

     5   learned from him exactly what went into his, the calculations,

     6   and then I had him run any transactions from any contracts that

     7   I was reviewing through the MAPR calculator, and that was where

     8   we came up with the alternative, and the appropriately stated

     9   MAPR was from that particular expert on which the overwhelming

   10    majority of all credit unions in the United States that are

   11    making Military Lending Act loans on cars are using.

   12                So --

   13                THE COURT:    But that doesn't -- I'm sorry, that

   14    doesn't explain to me what -- where is the difference between

   15    how he is calculating the interest rate, the effective interest

   16    rate, and the way the defendant is doing it?              Because it seems

   17    to me we're dealing with a fairly -- we're a closed-end

   18    transaction.    This is a case where the interest rate is set,

   19    the number of -- the number of months over which the loan

   20    applies, that is a set number.       It's 42 months, right?             There's

   21    no dispute about that.      It's clear as to when the first payment

   22    is due.

   23                As I recall how the defendant explained the

   24    calculation, they take the interest rate, and they sort of

   25    divided what the effective daily rate would be, and so that




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     1   that first month's payment is a little bit different because of

     2   the length of time between the time the contract is signed and

     3   the time -- the due date for the first payment.

     4               So I don't quite understand where the difference lies

     5   between the two approaches.

     6               MS. VARNELL:    So it's about what category, what block

     7   you put the extra charges on, for instance, the, the GAP

     8   insurance, which should be included within the financing cost,

     9   as opposed to where it's currently being included.

   10                And things like, for instance, the MAPR calculator

   11    was where we determined that there was prepaid interest,

   12    despite the fact that it doesn't appear on the contract, and

   13    the expert explains to me that this always happens where you

   14    have the time gap between the first payment and the -- and a

   15    date here, the transaction took place on the 13th of October,

   16    later.

   17                So, Your Honor, ultimately you have a factual dispute

   18    here, and in the end, you'll see in my complaint that we

   19    clearly state that regardless of what the rate that was stated

   20    here, it was not presented in the way that a military MAPR has

   21    to be communicated to our servicemembers.            There are very

   22    special requirements of how an MAPR is to be communicated to

   23    active duty military, and it is not simply provided in the

   24    truth in lending box of this nature.          You have to give this

   25    separate disclosure, and that's fully stated in the complaint.




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     1               We believe that the fact that there was not a single

     2   disclosure made here just makes it clear that they don't

     3   believe the MA -- Military Lending Act really applies.                  I don't

     4   really think that's in dispute.        Mr. Kim won't dispute that.

     5               This transaction was not made in any way, shape, or

     6   form in compliance with the MLA.        They're not purporting to say

     7   that it does.     They didn't give Military Lending Act

     8   disclosures.

     9               Regardless of what the amounts are, they did not give

   10    the disclosures that are required under the MLA.               It actually

   11    has the words in it, it tells the person where they can call,

   12    or it gives them in a written form that explains this is what

   13    your MAPR business is, this is what your finance charge

   14    actually is, and so they can't wear the clock of compliance

   15    because -- merely because they put the TILA disclosures in a

   16    truth in lending form.

   17                THE COURT:    Okay.

   18                MS. VARNELL:    I mean, if this Court determines that

   19    the Military Lending Act does apply because it was an extra

   20    add-on finance product, then if you ask Mr. Kim now, I believe

   21    that he will tell you as an officer of the Court that this

   22    transaction was not done in compliance with the MLA because

   23    they did not believe that it applied.

   24                THE COURT:    All right.    Mr. Kim, that's a good

   25    question.    Do you want to respond to that?




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     1               MR. KIM:    Yes, Your Honor.      Well, I think, I think

     2   the issues there were somewhat conflated.            I think the question

     3   of whether the MAPR is accurate, I don't think there really can

     4   be a dispute there.

     5               The MAPR is slightly different from the APR under

     6   TILA because an MAPR is supposed to include, for instance,

     7   credit insurance products such as GAP, and here when we look at

     8   the contract on page 2, it's undeniable that the total amount

     9   financed, the $14,698.24, includes the $395 for GAP and

   10    includes the $250 for the processing fee.            And so again, you

   11    know, it's just, it's just a matter of performing the

   12    mathematical calculation.

   13                And as Your Honor recognized in our motion on pages

   14    13 and 14 and in our amortization table, the math just makes

   15    sense that when you take the total amount financed, which again

   16    includes GAP insurance and the $250 processing fee, over 42

   17    months based on the, the annual monthly payment, the amount is

   18    correct.

   19                And again, it's just indisputable that those costs

   20    are in the total amount financed, and so, you know, if this

   21    expert believes otherwise, you know, I believe that plaintiff

   22    would have submitted something in the opposition brief to

   23    dispute the math, but again, nothing was provided, and so with

   24    respect to the MAPR, again, the 22.99 percent is accurate.

   25                Now, I think there's a separate issue that




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     1   Ms. Varnell raised of whether there were MLA disclosures

     2   provided.    Under the, under the MLA, it does require that

     3   certain disclosures be provided, for instance, that, that the

     4   MAPR would not exceed 36 percent.        At this point, we have not

     5   challenged that issue in the -- in our 12(b)(6) motion, but

     6   that's a second, Your Honor, that's a different claim.

     7               And so again, our position is that the MLA does not

     8   apply here.

     9               THE COURT:    Well, that's -- as I said at the very

   10    beginning, that's the overriding issue, whether the ML -- but

   11    that is the question that Ms. Varnell did posit, and I'll

   12    repeat it to you, and that is, do you agree that if you are

   13    covered by the MLA, that your -- the contract that's before us

   14    in this case would not be in full compliance?

   15                MR. KIM:    I do, Your Honor, yes.

   16                THE COURT:    Okay.   All right.      And to some degree,

   17    that makes it easy for the Court because it's a crystal clear

   18    issue that really wraps the whole case up.

   19                Then do you want to add anything further to what

   20    either has been argued today or to the briefs as to why your --

   21    the contract at issue here is exempt?          I mean, do you have

   22    any --

   23                MR. KIM:    Yes, Your Honor.

   24                THE COURT:    Let me ask you this first:            Do you have

   25    any case law?     Because again, we could not find any that




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     1   supported the plaintiff's position, but also, we couldn't find

     2   any that would support your view.

     3               Now, I recognize that the withdrawal of the 2017

     4   instruction is somewhat recent, but are you involved, Mr. Kim,

     5   in the Florida litigation that was referenced by Ms. Varnell?

     6               MR. KIM:    I am not, Your Honor.

     7               THE COURT:    All right.    But I assume you're aware of

     8   it?

     9               MR. KIM:    I was not aware of that lawsuit.

   10                THE COURT:    Oh, all right.      Okay.

   11                So anyway, are you aware of any litigation or of any

   12    case law that addresses this issue?

   13                MR. KIM:    I'm not, Your Honor.        Aside from that one

   14    case that we cited in Maryland regarding the arbitration issue,

   15    nothing specifically on this particular issue of whether the

   16    MLA would apply to an auto finance transaction, and my, my

   17    belief is that it's not out there because the statutory

   18    language and the regulatory language of the definition of

   19    "consumer credit transaction" is just, is just clear, and it's

   20    plain language, it would be (inaudible).

   21                And so, Your Honor, if I, if I may, because I feel

   22    like it's really important to this discussion to make the

   23    distinction between the auto finance exception, which is found

   24    in the regulation under 32 C.F.R. 232.3(f)(2)(ii), and the

   25    personal property exception, which is found under (f)(2)(iii),




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     1   and I believe that plaintiff is arguing that this auto finance

     2   transaction would be subject to the MLA based on the DoD's

     3   interpretation of (f)(2)(iii), the personal property exception.

     4               I believe that's just incorrect.             And if the Court

     5   would like, I could -- I can explain our position on that.

     6               THE COURT:    Go ahead.

     7               MR. KIM:    Okay.   So I think what I should do, perhaps

     8   I can start with a little bit of history.              Again, as the Court

     9   is probably aware, the MLA was originally enacted to protect

   10    active military members from certain predatory lending products

   11    such as closed-end payday loans and closed-end auto title loans

   12    and tax refund anticipation loans, those types of products.

   13                In 2015, the DoD expanded the definition of "consumer

   14    credit" to include other credit transactions like unsecured

   15    open-ended credit lines and credit cards, for instance, and as

   16    a result -- at that time, the definition of "consumer credit"

   17    always and consistently excluded auto finance transactions

   18    where the vehicle was secured -- I'm sorry, where the loan was

   19    secured by the vehicle.      That has never changed.

   20                And not only the statutory definition but in the

   21    MLA's regulatory definition, consumer credit transaction always

   22    excluded again any credit transaction that's, quote, expressly

   23    intended to finance the purchase of a motor vehicle when the

   24    credit is secured by the vehicle being purchased, which is

   25    exactly the case here with the plaintiff's auto finance




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     1   transaction.

     2               So this, so this auto finance exception, I'll refer

     3   to it as the auto finance exception, that's found in again

     4   (f)(2)(ii) of the regulations.       Again, I think this is

     5   important because I believe plaintiff's attempts to kind of

     6   conflate the two, the auto finance exception with its other

     7   exception found under (f)(2)(iii), which is the personal

     8   property exception.

     9               And so following the, the DoD's kind of expansion of

   10    consumer credit transaction 2015, there were a number of

   11    questions that were raised, and so the DoD addressed those

   12    questions in a ruling that it issued in August of 2016, and I'm

   13    going to refer to this as the August 2016 ruling.                And so among

   14    other questions, there was question No. 2, which asks whether

   15    credit that a creditor extends for the purpose of purchasing

   16    personal property which secures credit, whether that falls

   17    within the exception of consumer credit under (f)(2)(iii),

   18    where the creditor, quote, simultaneously extends credit in an

   19    amount greater than the purchase price.

   20                Ultimately, the question was if somebody is -- if

   21    someone is receiving credit to purchase personal property but

   22    in addition they are going to receive a cash advance loan,

   23    which is what the DoD referred to it as, then no, that

   24    personal -- the personal property exception would not apply to

   25    that transaction.




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     1               So essentially, the DoD said it's, it's a hybrid

     2   purchase money and cash advance loan, and it's not expressly

     3   intended to finance the purchase of personal property only, and

     4   as a result, it's going to be subject to the MLA.

     5               So I guess the example I could give is somebody is

     6   going to go buy an appliance and they're going to receive

     7   financing to go buy a new refrigerator for $2,500, but in

     8   addition, they receive a cash advance loan of $1,000 completely

     9   unrelated to the purchase of that refrigerator.               The DoD

   10    explained that while that personal property purchase is going

   11    to be subject to the MLA under the cash advance loan there,

   12    that's, you know, in theory unsecured and has nothing to do

   13    with the purchase of the refrigerator.

   14                Now, as a result -- and again, that August 2016

   15    ruling only dealt with that (f)(2)(iii) and the personal

   16    property exception.      Then what happened was because of that

   17    August 2016 ruling, there were additional questions that were

   18    raised which the DoD then decided to address in a, in a

   19    separate ruling issued in December of 2017.             Now, this December

   20    2017 ruling addressed the auto finance exception under

   21    (f)(2)(iii).

   22                And so I'm just going to quote the question, and this

   23    is from the December 2017 ruling, and this goes to question 2

   24    of the August 2016 ruling.       So, "Does credit that a creditor

   25    extends for the purpose of purchasing a motor vehicle or




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     1   personal property, which secures the credit, fall within the

     2   exception to 'consumer credit' under 32 C.F.R. 232(f)(2)(ii) or

     3   (iii) where the creditor simultaneously extends credit in an

     4   amount greater than the purchase price of the motor vehicle or

     5   personal property?"

     6               So with this question, the DoD responded, well, it

     7   depends, all right?      And what the DoD explained was it

     8   distinguished between credit that finances the purchase of the

     9   vehicle itself and additional costs that are, quote, expressly

   10    related to the, to the vehicle or object, such as leather

   11    seats, versus financing the purchase of the vehicle and

   12    credit-related products, such as GAP insurance.

   13                All right.    And so what the DoD said was, well, if

   14    it's leather seats, then that's -- essentially the nexus to the

   15    actual vehicle is so strong that it is still excluded from the

   16    MLA because it falls within the auto finance exception.

   17    However, if the financing offers a related product such as GAP

   18    insurance, then it does not fall within the MLA's exception

   19    because GAP insurance, what the DoD kind of explained was it's

   20    just, the nexus isn't, isn't close enough to the vehicle

   21    purchase.

   22                Now, what happened as a result of that December 2017

   23    ruling was that -- I think we kind of touched on this

   24    earlier -- a number of organizations and institutions in the

   25    auto finance industry went to the DoD and explained that this




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     1   is causing confusion, it will create compliance issues with the

     2   auto finance companies, technical compliance issues, and also

     3   it will prevent auto finance companies or dealerships from

     4   offering GAP insurance to active military members, and that is

     5   inconsistent with what the MLA is trying to do, which is

     6   protect active military members.

     7               And this was, this was a slew of organizations and

     8   trade associations that, you know, as Ms. Varnell mentioned,

     9   NADA, National Automobile Dealers Association; the ABA,

   10    American Bankers Association; National Independent Automobile

   11    Dealers Association; there are a number of others.

   12                And ultimately, it was because of this concern that

   13    was raised that in February of 2020, the DoD expressly withdrew

   14    the December 2017 ruling, and in so doing, it reverted back to

   15    the August 2016 interpretive rule, and what's really important

   16    there is that again the August 2016 rule only applies to the

   17    personal property exception, not the auto finance exception,

   18    and so that kind of brings us full circle back to this case

   19    because here plaintiff is claiming that his contract which is

   20    for auto finance and included GAP insurance is not covered by

   21    the auto finance exception, but that can't be the case because

   22    the auto finance exception under (f)(2)(ii), it just -- again,

   23    the plain language of the statute and (f)(2)(ii) under the

   24    regulation both exclude auto finance transactions.

   25                And so plaintiff's reliance on the August 2016 ruling




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     1   is just, it wouldn't make sense because if the August 2016

     2   ruling was to apply here, then the DoD never would have come

     3   out with the December 2017 ruling discussing specifically the

     4   auto finance exception, and then in February of 2020, the DoD

     5   would not have had to withdraw it because the August 2016

     6   ruling would have expressly covered it, and for that reason, in

     7   the February 2020 ruling, the DoD made it clear that auto

     8   finance transactions like plaintiff's here aren't subject to

     9   the MLA.

   10                THE COURT:    All right.

   11                MR. KIM:    And also, Your Honor, the MLA statutory

   12    definition again, it's -- just the plain language shows that if

   13    an auto finance transaction where the vehicle secures the loan

   14    or the contract, it's just not included.            That was never the

   15    intention of the legislators and never the intention of the

   16    DoD, I believe, when it passed these regulations.

   17                And lastly, I would say that if the Court does

   18    believe that the DoD's interpretation of this regulation covers

   19    auto finance transactions, I would argue that the statutory

   20    definition of "consumer credit," which expressly excludes auto

   21    finance transaction, as a matter of law trumps the DoD

   22    interpretation of the regulation because it's, because it's

   23    just, it's legislation, and legislation here would trump the

   24    DoD's interpretation of the regulation just based on the cases

   25    that have been cited in my client's reply brief.




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     1                THE COURT:    All right.   Ms. Varnell, you mentioned

     2   that credit unions use contracts for financing automobile sales

     3   that do in your view comply with the MLA; is that correct?

     4                MS. VARNELL:   Yes, Your Honor.

     5                THE COURT:    Do those contracts include -- offer GAP

     6   insurance?

     7                MS. VARNELL:   If they do offer GAP insurance, the

     8   amount of that credit insurance would be included within the

     9   APR and the finance charge, and the military consumer would be

   10    given different disclosures than what were provided to the

   11    consumer here.     So --

   12                 THE COURT:    Well, wait a minute, though.            What kind

   13    of disclosures are you -- because that's -- I don't believe

   14    that that's in the complaint.       What are the disclosure defects

   15    that you think are at issue here?

   16                 MS. VARNELL:   So the Military Lending Act is there,

   17    there have been, like, literally they printed out examples

   18    as -- the Department of Defense provided actual examples.                    You

   19    say to the person, you know, this is a loan that is governed, a

   20    transaction that is governed by the Military Lending Act.                    This

   21    is your actual military lending annual percentage rate, the

   22    MAPR.   This is your actual finance charge.            And it includes all

   23    those additional costs that would pass onto the law.

   24                 And then it also provides frequently the -- if they

   25    are not going to give them the actual fully written set of




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     1   disclosures like that, it provides a 1-800 number where the

     2   consumer can call and get their rights under the Military

     3   Lending Act disclosed to them.

     4               So importantly, if this is governed by the Military

     5   Lending Act, Congress said we are not -- you are, you are

     6   protected from onerous provisions like disclosure of damages --

     7   not disclosure, I'm sorry -- waiver of certain categories of

     8   damages, arbitration, and other onerous provisions like that.

     9   And so the consumer -- a military consumer is entitled to know

   10    what their rights are under the Military Lending Act, and none

   11    of that was given to the consumer in this case.

   12                THE COURT:    All right.

   13                MS. VARNELL:    That's why it brings us right back to

   14    this critical distinction:       Does -- are they entitled to the

   15    exemption or not?

   16                And I don't -- I could tell you're very informed on

   17    this issue, and I'm delighted that you understand that it is

   18    so -- it really is so dependent upon that threshold issue, and

   19    so I would just alert the Court that the plaintiff's briefing

   20    on pages 9 and 10 in particular respond directly to the

   21    argument that Mr. Kim just advanced, and at the heart of our

   22    response to all of this, the regulation did not change.

   23                And nothing about what this complaint requests the

   24    Court to do acts to contradict the plain language of the

   25    statute because here's the thing:        This was not a transaction




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     1   just to sell a used car.      It was a used car along with a credit

     2   insurance product, GAP.      We can debate all day over the value

     3   of GAP and whether you should buy it from your insurance

     4   company or whether you should buy it at five times the price at

     5   the car dealership, but that's not what is before the Court

     6   today.    It also finances other costs such as the processing

     7   fee.

     8               But nobody, what you did not hear Mr. Kim say to you

     9   today is that anything about this transaction was -- involved

   10    appropriate disclosures under the Military Lending Act because

   11    the defendant does not believe that the MLA applies to the

   12    loan.

   13                THE COURT:    Okay.

   14                MS. VARNELL:    And this Court will just have to decide

   15    whether the plaintiff is correct or the defendant is correct in

   16    that when you add in other products, whether or not that was

   17    just another attempt to evade MLA, you know, to sneak in under

   18    the cloak of a, a compliance transaction and -- or to cloak it

   19    into a regular transaction that involves just the sale of a

   20    car, or whether indeed it is exactly what the Department of

   21    Defense was trying to fix in 2016.

   22                If you go back and read the Code of Federal

   23    Regulations, it's clear that in 2015, they said we have way too

   24    many loopholes, and we've seen all of these unscrupulous

   25    lenders trying to add on all of these extra charges and fees to




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     1   these transactions.      We have to find a way to close the

     2   loopholes because that's why there is no litigation under the

     3   Military Lending Act.

     4               So they attempted to do it by dramatically expanding

     5   the definition of what, what it applies to, and they said that

     6   consumer credit involved anytime that they're financing more

     7   than four payments, any product essentially, anything that you

     8   would -- that would fall under Reg Z, under the Truth in

     9   Lending Act, and I submit to the Court that it is undeniable

   10    that there is GAP sold within the financing product on this

   11    transaction and that that product, GAP, fairly pulled this

   12    transaction under the definition of consumer credit.

   13                And the last thing I would say in closing, but it is

   14    reiterated on pages 9 and 10, is that the Department of Defense

   15    clearly said when it did withdraw the 2017 question-and-answer

   16    guidance, it said in withdrawing this amended question and

   17    answer, the Department is reverting back to the original

   18    question and answer published in 2016, and it clarified it is

   19    not changing any interpretation, and it sure as heck did not

   20    change any regulation that was in existence, and the regulation

   21    says that GAP was credit, it is a -- it is consumer credit, it

   22    is financed, a product that was financed.

   23                THE COURT:    All right.    Well, thank you, counsel.

   24    It's been a very interesting argument.           Obviously, since this

   25    will be a case of first impression, I want to make sure we've




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     1   done the issues justice, so it will take a little time to get

     2   an opinion out.

     3               In the meantime, I can't recall whether -- has the

     4   defendant filed an answer yet in this case?             Probably not,

     5   right, because you just filed the motion to dismiss?

     6               MS. VARNELL:    No, Your Honor.

     7               MR. KIM:    That's right, Your Honor.

     8               THE COURT:    All right.    Obviously, any, any timing

     9   for an answer is going to be delayed until you get a ruling on

   10    this motion.    I'm assuming we have not issued a scheduling

   11    order.    I don't think we have in this case.           No.    So there's

   12    nothing else you-all need to do.

   13                Obviously, if anything changes in terms of the, the

   14    litigation world, if for some reason an opinion comes out of

   15    the Florida court before we issue ours, that would obviously

   16    potentially be relevant to this case, I would expect you-all to

   17    advise us of any change in the law, but other than that, we

   18    will try to get an opinion out as soon as possible.

   19                But thank you, and you-all stay safe.             Bye-bye.

   20                MS. VARNELL:    Thank you, Your Honor.

   21                MR. KIM:    Thank you, Your Honor.

   22                                 (Which were all the proceedings

   23                                   had at this time.)

   24

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     1                        CERTIFICATE OF THE REPORTER

     2         I certify that the foregoing is a correct transcript of

     3   the record of proceedings in the above-entitled matter.

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     6                                                   /s/
                                                  Anneliese J. Thomson
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